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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

                                                 :
TEVA BRANDED PHARMACEUTICAL                      :   Civil Action No. __________
PRODUCTS R&D, INC., and                          :
NORTON (WATERFORD) LTD.,                         :
                                                 :
                      Plaintiffs,                :
                                                 :
               v.                                :
                                                 :
CIPLA USA, INC. and CIPLA LTD.,                  :
                                                 :
                      Defendants.                :
                                                 :

                                         COMPLAINT

               Plaintiffs Teva Branded Pharmaceutical Products R&D, Inc. (“Teva”) and Norton

(Waterford) Ltd. (“Norton”) (collectively, “Plaintiffs”), by their attorneys, for their Complaint,

allege as follows:

               1.     This is an action for patent infringement under the patent laws of the United

States, 35 U.S.C. § 100 et seq., which arises out of the submission by Cipla Ltd. and Cipla USA,

Inc. (collectively, “Cipla”) of Abbreviated New Drug Application (“ANDA”) No. 219774 to the

U.S. Food and Drug Administration (“FDA”) seeking approval to commercially manufacture, use,

offer for sale, sell, and/or import generic versions of Plaintiffs’ QVAR RediHaler®

(beclomethasone dipropionate, 80 mcg) product prior to the expiration of U.S. Patent Nos.

8,132,712 (the “’712 patent”), 8,931,476 (the “’476 patent”), 10,022,509 (the “’509 patent”),

10,022,510 (the “’510 patent”), 10,086,156 (the “’156 patent”), 10,561,808 (the “’808 patent”),

10,695,512 (the “’512 patent”), 10,792,447 (the “’447 patent”), 11,395,888 (the “’888 patent”),

11,395,889 (the “’889 patent”), 11,559,637 (the “’637 patent”), 11,583,643 (the “’643 patent”),

11,793,953 (the “’953 patent”), 11,865,247 (the “’247 patent”), 11,896,759 (the “’759 patent”),



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and 11,957,832 (the “’832 patent”). Collectively, the ’712 patent, ’476 patent, ’509 patent, ’510

patent, ’156 patent, ’808 patent, ’512 patent, ’447 patent, ’888 patent, ’889 patent, ’637 patent,

’643 patent, the ’953 patent, the ’247 patent, the ’759 patent, and the ’832 patent are referred to

herein as the “Patents-in-Suit.”

                                            PARTIES

                                               Teva

               2.      Plaintiff Teva is a company organized under the laws of the State of

Delaware with its principal place of business at 145 Brandywine Parkway, West Chester,

Pennsylvania 19380. In addition, Teva has a place of business at 400 Interpace Parkway #3,

Parsippany, New Jersey 07054.

               3.      Plaintiff Norton is a private limited company organized under the laws of

the Republic of Ireland and having its registered office at Unit 301, IDA Industrial Park, Waterford

X91 WK68, Republic of Ireland. Norton trades, i.e., does business, as Ivax Pharmaceuticals

Ireland and as Teva Pharmaceuticals Ireland.

                                               Cipla

               4.      On information and belief, Defendant Cipla Ltd. is a company organized

and existing under the laws of the Republic of India with its principal place of business at Cipla

House, Peninsula Business Park, Ganpatrao Kadam Marg, Lower Parel, Mumbai 400 013,

Maharashtra, India. On information and belief, Cipla Ltd. is in the business of, among other things,

manufacturing and selling generic versions of branded pharmaceutical drugs.

               5.      On information and belief, Defendant Cipla USA, Inc. is a company

organized and existing under the laws of the State of Delaware, with its principal place of business

at 10 Independence Boulevard, Suite 300, Warren, New Jersey 07059. On information and belief,

Cipla USA, Inc. is a wholly owned subsidiary of Cipla Ltd., and is controlled and dominated by


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Cipla Ltd. On information and belief, Cipla USA, Inc. is in the business of, among other things,

manufacturing and selling generic versions of branded pharmaceutical drugs.

               6.      On information and belief, Cipla Ltd., acting in concert with Cipla USA,

Inc., files ANDAs with the FDA seeking approval to engage in the commercial manufacture, use,

offer for sale, sale, and/or importation of generic versions of drug products that are covered by

United States patents. On information and belief, as part of these ANDAs, Cipla Ltd., acting in

concert with Cipla USA, Inc., files certifications of the type described in Section

505(j)(2)(A)(vii)(IV) of the Federal Food, Drug, and Cosmetic Act (“Paragraph IV Certifications”)

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of generic

drug products prior to the expiration of United States patents that cover such products.

               7.      On information and belief, Cipla knows and intends that upon approval of

Cipla’s ANDA, Cipla will manufacture and directly or indirectly market, sell, and distribute

Cipla’s Beclomethasone Dipropionate Inhalation Aerosol, 80 mcg (“Cipla’s ANDA Product”)

throughout the United States, including in New Jersey.

               8.      On information and belief, Cipla Ltd. and Cipla USA, Inc. are agents of

each other, and/or operate in concert as integrated parts of the same business group, and enter into

agreements with each other that are nearer than arm’s length, including with respect to the

development, regulatory approval, marketing, sale, offer for sale, and distribution of generic

pharmaceutical products throughout the United States, including into New Jersey, and including

with respect to Cipla’s ANDA Product at issue.

               9.      On information and belief, following any FDA approval of Cipla’s ANDA,

Cipla Ltd. and Cipla USA, Inc. will act in concert to market, distribute, offer for sale, and sell

Cipla’s ANDA Product throughout the United States and within New Jersey.




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                10.    On information and belief, following any FDA approval of Cipla’s ANDA,

Cipla will market, distribute, offer for sale, and sell Cipla’s ANDA Product throughout the United

States and within New Jersey.

                11.    On information and belief, following any FDA approval of Cipla’s ANDA,

Cipla knows and intends that Cipla’s ANDA Product will be marketed, used, distributed, offered

for sale, and sold in the United States and within New Jersey.

                                        JURISDICTION

                12.    Plaintiffs incorporate each of the preceding paragraphs 1–11 as if fully set

forth herein.

                13.    This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §§ 1331 and 1338(a); 28 U.S.C. §§ 2201 and 2202.

                14.    Based on the facts and causes alleged herein, and for additional reasons to

be further developed through discovery if necessary, this Court has personal jurisdiction over Cipla

Ltd. and Cipla USA, Inc.

                15.    This Court has personal jurisdiction over Cipla USA, Inc. because, among

other things, Cipla USA, Inc. has purposely availed itself of the benefits and protections of New

Jersey’s laws such that it should reasonably anticipate being haled into court here. Cipla USA,

Inc. is a company with a principal place of business in New Jersey. On information and belief,

Cipla USA, Inc. develops, manufactures, imports, markets, offers to sell, sells, and/or imports

generic drugs throughout the United States, including in New Jersey, and therefore transacts

business within New Jersey, and/or has engaged in systematic and continuous business contacts

within New Jersey. It therefore has consented to general jurisdiction in New Jersey.




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               16.     On information and belief, Cipla USA, Inc. is responsible for marketing,

distributing, offering for sale, and/or selling generic copies of branded pharmaceutical products

for the U.S. market, including in New Jersey, and relies on contributions from Cipla Ltd.

               17.     On information and belief, Cipla USA, Inc., acting as the agent of Cipla

Ltd., markets, distributes, offers for sale, and/or sells in New Jersey and elsewhere in the United

States generic pharmaceutical products that are manufactured by Cipla Ltd. or for which Cipla is

the named applicant on approved ANDAs.

               18.     This Court has personal jurisdiction over Cipla Ltd. because, among other

things, Cipla Ltd. has purposefully availed itself of the benefits and protections of New Jersey’s

laws such that it should reasonably anticipate being haled into court here. On information and

belief, Cipla Ltd. develops, manufactures, imports, markets, offers to sell, sells, and/or imports

generic drugs throughout the United States, including in New Jersey, and therefore transacts

business within New Jersey, and/or has engaged in systematic and continuous business contacts

within New Jersey.

               19.     In addition, this Court has personal jurisdiction over Cipla USA, Inc. and

Cipla Ltd. because, among other things, on information and belief: (1) Cipla USA, Inc. and Cipla

Ltd. acted in concert to file Cipla’s ANDA for the purpose of seeking approval to engage in the

commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s ANDA Product in

the United States, including in New Jersey; and (2) Cipla USA, Inc. and Cipla Ltd., acting in

concert and/or as agents of one another, will market, distribute, offer for sale, sell, and/or import

Cipla’s ANDA Product in the United States, including in New Jersey, upon approval of Cipla’s

ANDA, and will derive substantial revenue from the use or consumption of Cipla’s ANDA Product

in New Jersey. See Acorda Therapeutics Inc. v. Mylan Pharm. Inc., 817 F.3d 755, 763 (Fed. Cir.




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2016). On information and belief, upon approval of Cipla’s ANDA, Cipla’s ANDA Product will,

among other things, be marketed, distributed, offered for sale, sold, and/or imported in New Jersey;

prescribed by physicians practicing in New Jersey; dispensed by pharmacies located within New

Jersey; and/or used by patients in New Jersey, all of which would have a substantial effect on New

Jersey.

                20.    In addition, this Court has personal jurisdiction over Cipla USA, Inc. and

Cipla Ltd. because Cipla USA, Inc. and Cipla Ltd. regularly (1) engage in patent litigation

concerning FDA approved branded drug products in this District, (2) do not contest personal

jurisdiction in this District, and (3) purposefully avail themselves of the rights and benefits of this

Court by asserting claims and/or counterclaims in this District.           See, e.g., Teva Branded

Pharmaceutical Products R&D, Inc. & Norton (Waterford) Ltd. v. Cipla USA, Inc. & Cipla Ltd.,

Civil Action No. 24-909 (SRC)(MAH) (D.N.J.); Teva Branded Pharmaceutical Products R&D,

Inc. & Norton (Waterford) Ltd. v. Cipla USA, Inc. & Cipla Ltd., Civil Action No. 24-5856

(SRC)(MAH) (D.N.J.); Teva Branded Pharmaceutical Products R&D, Inc. & Norton (Waterford)

Ltd. v. Cipla USA, Inc. & Cipla Ltd., Civil Action No. 24-7162 (SRC)(MAH) (D.N.J.); Teva

Branded Pharmaceutical Products R&D, Inc. & Norton (Waterford) Ltd. v. Cipla Ltd., Civil

Action No. 20-14890 (JXN)(MAH) (D.N.J.).

                21.    For the above reasons, it would not be unfair or unreasonable for Cipla

USA, Inc. and/or Cipla Ltd. to litigate this action in this District, and the Court has personal

jurisdiction over them here.

                                              VENUE

                22.    Plaintiffs incorporate each of the proceeding paragraphs 1–21 as if fully set

forth herein.




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                23.      Venue is proper in this district for Cipla USA, Inc. pursuant to 28 U.S.C.

§§ 1391 and 1400(b) because, inter alia, Cipla USA, Inc. is a company with a principal place of

business in New Jersey and is subject to personal jurisdiction in this judicial district.

                24.      Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b) with

respect to Cipla Ltd., at least because, on information and belief, Cipla Ltd. is a corporation

organized and existing under the laws of the Republic of India and is subject to personal

jurisdiction in this judicial district.

                                          BACKGROUND

                25.      Norton is the holder of New Drug Application (“NDA”) No. 207921 for

Qvar RediHaler® 80 mcg (beclomethasone dipropionate, 80 mcg) Inhalation Aerosol. Qvar

RediHaler® inhaler is approved by FDA for maintenance treatment of asthma as prophylactic

therapy in adults and pediatric patients 4 years of age and older.

                                           The ’712 Patent

                26.      The ’712 patent, entitled “Metered-Dose Inhaler” (Exhibit A), duly and

legally issued on March 13, 2012.

                27.      Norton is the owner and assignee of the ’712 patent.

                28.      The ’712 patent is listed in connection with the Qvar RediHaler® in the

Orange Book.

                29.      Claim 1 of the ’712 patent claims:

                A dose counter for a metered-dose inhaler, the counter comprising:

                         an actuator;

                         a rotary gear;

                         a driver for driving the rotary gear in a step-wise fashion in
                         response to displacement of the actuator,



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               the rotary gear comprising a wheel mounted on a spindle
               which wheel having a plurality of ratchet teeth around its
               periphery;

               a pawl to prevent reverse rotation of the rotary gear; and

               a display coupled to the rotary gear, the display having a
               visible array of incrementing integers on a surface thereof
               indexable by a single integer in response to each step of the
               step-wise rotary motion of the rotary gear;

               wherein the pawl comprises at least two ratchet teeth each
               for engaging with the ratchet teeth of the wheel to prevent
               reverse rotation of the rotary gear,

               the at least two ratchet teeth being radially spaced such that
               one of the at least two ratchet teeth of the pawl engages with
               the ratchet teeth of the wheel following each step of the step-
               wise rotary motion of the rotary gear.

        30.    Claim 18 of the ’712 patent claims:

        The use of a dose counter for preventing miscounting in a metered dose inhaler,
        the dose counter comprising:

               an actuator;

               a rotary gear;

               a driver for driving the rotary gear in a step-wise fashion in
               response to displacement of the actuator,

               the rotary gear comprising a wheel mounted on a spindle
               which wheel having a plurality of ratchet teeth around its
               periphery;

               a pawl to prevent reverse rotation of the rotary gear; and

               a display coupled to the rotary gear, the display having a
               visible array of incrementing integers on a surface thereof
               indexable by a single integer in response to each step of the
               step-wise rotary motion of the rotary gear;

               wherein the pawl comprises at least two ratchet teeth each
               for engaging with the ratchet teeth of the wheel to prevent
               reverse rotation of the rotary gear,



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                     the at least two ratchet teeth being radially spaced such that
                     one of the at least two ratchet teeth of the pawl engages with
                     the ratchet teeth of the wheel following each step of the step-
                     wise rotary motion of the rotary gear.

              31.    Claim 19 of the ’712 patent claims:

              The use of a dose counter for preventing undercounting in a metered dose inhaler,
              the dose counter comprising:

                     an actuator;

                     a rotary gear;

                     a driver for driving the rotary gear in a step-wise fashion in
                     response to displacement of the actuator,

                     the rotary gear comprising a wheel mounted on a spindle
                     which wheel having a plurality of ratchet teeth around its
                     periphery;

                     a pawl to prevent reverse rotation of the rotary gear; and

                     a display coupled to the rotary gear, the display having a
                     visible array of incrementing integers on a surface thereof
                     indexable by a single integer in response to each step of the
                     step-wise rotary motion of the rotary gear;

                     wherein the pawl comprises at least two ratchet teeth each
                     for engaging with the ratchet teeth of the wheel to prevent
                     reverse rotation of the rotary gear,

                     the at least two ratchet teeth being radially spaced such that
                     one of the at least two ratchet teeth of the pawl engages with
                     the ratchet teeth of the wheel following each step of the step-
                     wise rotary motion of the rotary gear.

                                       The ’476 Patent

              32.    The ’476 patent, entitled “Inhaler” (Exhibit B), duly and legally issued on

January 13, 2015.

              33.    Norton is the owner and assignee of the ’476 patent.




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           34.    The ’476 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

           35.    Claim 1 of the ’476 patent claims:

           An inhaler for delivering medicament to a patient, the inhaler
           comprising

                  a housing for holding the medicament and having an air inlet
                  means and a medicament delivery port which together define
                  an air flow path into which the medicament is dispensed,

                  wherein the air inlet means comprises an array of elongate
                  apertures formed in the housing,

                  wherein long sides of adjacent apertures face each other, and
                  each aperture being provided with a respective different
                  opening in an outer surface of the housing, and

                  wherein the opening of each aperture extends in two
                  different planes such that, if at least a part of the opening is
                  covered in one of two different planes during inhalation by
                  the patient, a void space is created between a cover and the
                  aperture so as to provide an air flow path through the void
                  space to the at least one aperture,

                  wherein a raised formation is provided in the outer surface
                  of the housing between adjacent apertures to either limit or
                  prevent a covered opening.

           36.    Claim 17 of the ’476 patent claims:

            A metered-dose inhaler for delivering medicament to a patient, the
           inhaler comprising

                  a housing for holding the medicament and having an air inlet
                  means and a medicament delivery port which together define
                  an air flow path into which the medicament is dispensed,

                  wherein the housing comprises an elongate body and the air
                  inlet means is provided in an end face of the elongate body,

                  wherein the air inlet means comprises an array of elongate
                  apertures formed in the housing, long sides of adjacent
                  apertures facing each other, and each aperture being



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                      provided with a respective different opening in an outer
                      surface of the housing,

                      wherein each aperture is provided in a respective different
                      recess in the outer surface of the housing, which recess
                      defines the opening of the aperture,

                      and wherein the opening of each aperture in the outer surface
                      of the housing extends in two different planes defining an
                      angle of at least 45 degrees to each other, such that, if at least
                      a part of the opening is covered in one of the two different
                      planes during inhalation by the patient, a void space is
                      created between the patient and the aperture so as to provide
                      an air flow path through the void space to the at least one
                      aperture.

                                         The ’509 Patent

              37.     The ’509 patent, entitled “Dose Counter for Inhaler Having a Bore and Shaft

Arrangement” (Exhibit C), duly and legally issued on July 17, 2018.

              38.     Norton is the owner and assignee of the ’509 patent.

              39.     The ’509 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

              40.     Claim 1 of the ’509 Patent claims:

              A dose counter for an inhaler, the dose counter having a display tape
              arranged to be incrementally driven from a tape stock bobbin onto
              an incremental tape take-up drive shaft, the bobbin having an
              internal bore supported by and for rotation about a support shaft, at
              least one of the bore and the support shaft having a radially
              extending protrusion having a leading portion edge, a trailing
              portion edge, wherein at least one of the leading portion edge and
              the trailing portion edge are tapered, and a friction edge between the
              leading portion edge and the trailing portion edge, wherein the
              friction edge is substantially parallel to a longitudinal axis of the
              support shaft and the leading portion edge and trailing portion edge
              are not parallel to the longitudinal axis of the support shaft, and the
              friction edge is resiliently biased into frictional engagement with the
              other of the bore and support shaft with longitudinally extending
              mutual frictional interaction and wherein the friction edge extends
              further in a longitudinal direction than the protrusion extends
              radially.


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                                        The ’510 Patent

              41.     The ’510 patent, entitled “Dose Counters for Inhalers, Inhalers and Methods

of Assembly Thereof” (Exhibit D), duly and legally issued on July 17, 2018.

              42.     Norton is the owner and assignee of the ’510 patent.

              43.     The ’510 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

              44.     Claim 1 of the ’510 patent claims:

              An inhaler comprising a dose counter and dose counter viewing
              window, the inhaler being configured to be readied by priming
              before first use and the dose counter comprising:

                      a tape system having a main elongate tape structure, dosing
                      Indicia located on the main elongate tape structure, tape
                      positioning indicia located on the main elongate tape
                      structure, a tape size marker located on the main elongate
                      tape structure indicating a number of dosing indicia on the
                      main elongate tape structure, and priming indicia located on
                      the main elongate tape structure, the priming indicia being
                      located between the dosing indicia and a first end of the main
                      elongate tape structure and visible in the dose counter
                      viewing window before priming before first use, and

                      wherein the first end of the main elongate tape structure is
                      fixed to a tape reel shaft and a second end of the main
                      elongate tape structure is attached to a stock bobbin, and
                      wherein the main elongate tape structure is around both the
                      stock bobbin and tape reel shaft when the priming indicia is
                      visible in the dose counter viewing window before priming
                      before first use.

              45.     Claim 10 of the ’510 patent claims:

              An inhaler comprising a dose counter and dose counter viewing
              window, the inhaler being configured to be readied by priming
              before first use and the dose counter comprising:

                      a tape system having a main elongate tape structure, dosing
                      indicia located on the main elongate tape structure, tape
                      positioning indicia located on the main elongate tape


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                      structure, and a tape size marker located on the main
                      elongate tape structure indicating a number of dosing indicia
                      on the main elongate tape structure, wherein the tape size
                      marker is positioned between a first end of the main elongate
                      tape structure and the tape positioning indicia,

                      wherein the first end of the main elongate tape structure is
                      fixed to a tape reel shaft and a second end of the main
                      elongate tape structure is attached to a stock bobbin, and
                      wherein the tape is around both the stock bobbin and tape
                      reel shaft and a portion of the main elongate tape structure
                      between the tape positioning indicia and the dosing indicia
                      is visible in the dose counter viewing window before
                      priming before first use.

              46.     Claim 20 of the ’510 patent claims:

              An inhaler comprising a dose counter and dose counter viewing
              window, the inhaler being configured to be readied by priming
              before first use and the dose counter comprising:

                      a tape system having a main elongate tape structure, dosing
                      indicia located on the main elongate tape structure, tape
                      positioning indicia located on the main elongate tape
                      structure so as to be visible in the dose counter viewing
                      window before priming before first use, and priming indicia
                      located on the main elongate tape structure, the priming
                      indicia being located between the tape positioning indicia
                      and the dosing indicia,

                      wherein a first end of the main elongate tape structure is
                      attached to a stock bobbin and a second end of the main
                      elongate tape structure is fixed to a tape reel shaft, and
                      wherein the main elongate tape structure is around both the
                      stock bobbin and tape reel shaft when the priming indicia is
                      visible in the dose counter viewing window before priming
                      before first use.

                                        The ’156 Patent

              47.     The ’156 patent, entitled “Dose Counter for Inhaler and Method of Counting

Doses” (Exhibit E), duly and legally issued on October 2, 2018.

              48.     Norton is the owner and assignee of the ’156 patent.




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           49.    The ’156 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

           50.    Claim 1 of the ’156 patent claims:

           A dose counter for a metered dose inhaler having a body arranged
           to retain a medicament canister of predetermined configuration for
           movement of the medicament canister relative thereto, the
           medicament canister containing an active drug; the dose counter
           comprising:

                  a ratchet wheel having a plurality of circumferentially
                  spaced teeth,

                  an actuator comprising an actuator pawl arranged to engage
                  with a first tooth of the ratchet wheel, wherein the actuator
                  can be driven in response to canister motion to drive the
                  ratchet wheel to rotate,

                  a count pawl arranged to engage with a second tooth of the
                  ratchet wheel, wherein as the ratchet wheel is driven by the
                  actuator to rotate, the count pawl rides along a forward
                  surface of the second tooth and resiliently jumps over the
                  second tooth, and

                  a dosage indicator associated with the count pawl,

                  wherein the actuator is arranged to define a first reset
                  position in which the actuator pawl is brought into
                  engagement with the first tooth,

                  wherein the actuator is further arranged such that, during a
                  canister fire sequence, when the actuator is in a second
                  position, which is after the first reset position and at a
                  canister fire configuration, the medicament canister fires
                  medicament before the dose counter reaches a count
                  configuration, and when the actuator is in a third position
                  after the second position, the count pawl resiliently jumps
                  over the second tooth and the dose counter reaches the count
                  configuration, whereby the dosage indicator has indicated a
                  count,

                  wherein, in the canister fire configuration, the actuator pawl
                  is below a datum plane which passes through a shoulder of a
                  valve stem block configured to receive the medicament



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                      canister.

                                        The ’808 Patent

              51.     The ’808 patent, entitled “Dose Counter for Inhaler Having an Anti-Reverse

Rotation Actuator” (Exhibit F), duly and legally issued on February 18, 2020.

              52.     Norton is the owner and assignee of the ’808 patent.

              53.     The ’808 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

              54.     Claim 1 of the ’808 patent claims:

              A dose counter for an inhaler, the dose counter having a counter
              display arranged to indicate dosage information, a drive system
              arranged to move the counter display incrementally in a first
              direction from a first station to a second station in response to
              actuation input, wherein a regulator is provided which is arranged to
              act upon the counter display at the first station to regulate motion of
              the counter display at the first station to incremental movements.

                                        The ’512 Patent

              55.     The ’512 patent, entitled “Dose Counter for Inhaler Having an Anti-Reverse

Rotation Actuator” (Exhibit G), duly and legally issued on June 30, 2020.

              56.     Norton is the owner and assignee of the ’512 patent.

              57.     The ’512 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

              58.     Claim 1 of the ’512 patent claims:

              An inhaler for inhaling medicament, the inhaler having:

                      A body for retaining a medicament canister; and

                      a dose counter, the dose counter having a moveable actuator
                      and a chassis mounted on the body;

                      wherein one of the body and the chassis includes a plurality
                      of apertures for receiving one or more pins on the other of


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                      the body and the chassis,

                      wherein either the pins or the apertures on the chassis are
                      positioned on different sides of the chassis for stabilizing the
                      chassis on the body, and

                      wherein the chassis comprises at least one of a pin or
                      aperture heat staked to a respective aperture or pin of the
                      body to mount the chassis to the body.

                                        The ’447 Patent

              59.     The ’447 patent, entitled “Breath Actuated Inhaler” (Exhibit H), duly and

legally issued on October 6, 2020.

              60.     Norton is the owner and assignee of the ’447 patent.

              61.     The ’447 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

              62.     Claim 1 of the ’447 patent claims:

              A breath actuated metered dose inhaler comprising:

                      a canister fire system configured to provide a canister
                      actuation force to fire a medicament containing canister in
                      response to patient inhalation, the canister fire system
                      comprising a pneumatic force holding unit and having:

                      a rest configuration in which a metering valve of the canister
                      is in a refill configuration;

                      a prepared configuration in which a canister actuation force
                      is retained by a difference in pressure between an enclosed
                      volume within the pneumatic force holding unit and
                      atmospheric pressure, and in which prepared configuration
                      the canister fire system is actuatable by patient inhalation
                      induced airflow;

                      and a fire configuration in which the metering valve is in a
                      dose delivery position;

                      wherein, in the prepared configuration, the force retained by
                      the pneumatic force holding unit reduces but by less than
                      about 6% over a period of 5 minutes.


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               63.    Claim 10 of the ’447 patent claims:

               A breath actuated metered dose inhaler comprising:

                      a canister fire system configured to provide a canister
                      actuation force to fire a medicament containing canister in
                      response to patient inhalation, the canister fire system
                      comprising a pneumatic force holding unit and having:

                      a rest configuration in which a metering valve of the canister
                      is in a refill configuration;

                      a prepared configuration in which a canister actuation force
                      is retained by a difference in pressure between an enclosed
                      volume within the pneumatic force holding unit and
                      atmospheric pressure, and in which prepared configuration
                      the canister fire system is actuatable by patient inhalation
                      induced airflow;

                      and a fire configuration in which the metering valve is in a
                      dose delivery position;

                      wherein, in the prepared configuration, the force retained by
                      the pneumatic force holding unit reduces but by less than
                      about 6% over a period of 5 minutes and wherein the
                      pneumatic force holding unit further comprises a valve port
                      comprising a relatively rigid valve seal surface configured to
                      be sealably engaged by an elastomeric valve seal, wherein
                      the relatively rigid valve seal surface has a surface roughness
                      average (RA) of less than about 0.15 μm.

                                        The ’888 Patent

               64.    The ’888 patent, entitled “Inhalers and Related Methods” (Exhibit I), duly

and legally issued on July 26, 2022.

               65.    Norton is the owner and assignee of the ’888 patent.

               66.    The ’888 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

               67.    Claim 1 of the ’888 patent claims:

               A breath actuated inhaler having


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                a drive adapted to drive a pressurized canister so as to retract
                a metering valve stem into the pressurized canister to fire the
                pressurized canister,

                the pressurized canister comprising a metering chamber and
                an interior reservoir, and being adapted to move during
                operation between 1 and 4 mm between end positions of its
                length of travel relative to the valve stem,

                the drive being arranged to apply a firing force of greater
                than 35 N and less than 60 N to the pressurized canister at a
                position of the pressurized canister relative to the valve stem
                at which the pressurized canister fires,

                the breath actuated inhaler further having a metering valve
                spring and a dose counter with a dose counter biasing
                element that cooperate together with the drive to hold the
                pressurized canister in a ready-to-fire configuration in which
                the pressurized canister is displaced from the end positions
                and the metering chamber is isolated from the atmosphere
                and wherefrom, in response to air flow, the pressurized
                canister is movable to close communication between the
                metering chamber and the interior reservoir and to open
                communication between the metering chamber and the
                atmosphere, and

                a vacuum chamber external to the metering chamber,
                wherein the metering valve spring and the dose counter
                biasing element combine with a vacuum force from the
                vacuum chamber to oppose a force from the drive when the
                pressurized canister is in the ready-to-fire configuration.

         68.    Claim 25 of the ’888 patent claims:

         A breath actuated inhaler having

                a drive adapted to drive a pressurized canister so as to retract
                a metering valve stem into the pressurized canister to fire the
                pressurized canister,

                the pressurized canister comprising a metering chamber and
                an interior reservoir, and being adapted to move during
                operation between 1 and 4 mm between end positions of its
                length of travel relative to the valve stem,

                the drive being arranged to apply a firing force of greater
                than 35 N and less than 60 N to the pressurized canister at a
                position of the pressurized canister relative to the valve stem

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                       at which the pressurized canister fires,

                       the breath actuated inhaler further having a metering valve
                       spring and a dose counter with a dose counter biasing
                       element that cooperate together with the drive to hold the
                       pressurized canister in a ready-to-fire configuration in which
                       the pressurized canister is displaced from the end positions
                       and the metering chamber is isolated from the atmosphere
                       and wherefrom, in response to air flow, the pressurized
                       canister is movable to close communication between the
                       metering chamber and the interior reservoir and to open
                       communication between the metering chamber and the
                       atmosphere,

                       the breath actuated inhaler further having an actuator system
                       for operating the drive, wherein the actuator system includes
                       a vacuum chamber external to the metering chamber having
                       a vacuum release system operable to permit the drive to drive
                       movement of the pressurized canister relative to the valve
                       stem, and the metering valve spring, a vacuum force from
                       the vacuum chamber, and the dose counter biasing element
                       combine to oppose a force from the drive when the
                       pressurized canister is in the ready-to-fire configuration.

                                         The ’889 Patent

               69.     The ’889 patent, entitled “Dose Counter for Inhaler Having an Anti-Reverse

Rotation Actuator” (Exhibit J), duly and legally issued on July 26, 2022.

               70.     Norton is the owner and assignee of the ’889 patent.

               71.     The ’889 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

               72.     Claim 1 of the ’889 patent claims:

               An incremental dose counter for a metered dose inhaler having a
               body arranged to retain a canister for movement of the canister
               relative thereto, the incremental dose counter having a main body,
               an actuator arranged to be driven and to drive an incremental output
               member in a count direction in response to canister motion, the
               actuator being configured to restrict motion of the output member in
               a direction opposite to the count direction, such that the actuator acts
               as an anti-back drive member when the actuator is in a non-
               depressed position, and wherein the incremental dose counter


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              further comprises a second anti-back member configured to restrict
              motion of the output member in a direction opposite to the count
              direction when the actuator is disengaged from the output member
              by a bump surface.

                                          The ’637 Patent

              73.     The ’637 patent, entitled “Inhalers and Related Methods” (Exhibit K), duly

and legally issued on January 24, 2023.

              74.     Norton is the owner and assignee of the ’637 patent.

              75.     The ’637 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

              76.     Claim 1 of the ’637 patent claims:

              A breath actuated inhaler comprising:

                      a main body for accommodating a medicament reservoir,

                      a canister fire system including

                             a trigger; and

                             a biasing element for moving a canister to release a
                             dose in response to air flow,

                      a cap housing,

                      an interior chamber defined by the main body and the cap
                      housing, the canister fire system and canister being enclosed
                      within the interior chamber, and

                      a lock system including helical threads having non-
                      overlapping and distinct thread segments for providing
                      rotational attachment of the cap housing to the main body
                      and a first lock member that cooperates with a second lock
                      member to achieve a snap lock between the cap housing and
                      the main body when the cap housing is rotationally attached
                      to the main body in a locked position,

                      wherein the thread segments are radially disposed about a
                      central axis and arranged such that the thread segments are
                      non-overlapping with respect to each other along the central


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                      axis, and

                      wherein the first lock member is interposed between the
                      thread segments.

              77.     Claim 28 of the ’637 patent claims:

              A breath actuated inhaler comprising:

                      a main body for accommodating a medicament reservoir,

                      a canister fire system for moving a canister to release a dose
                      in response to air flow,

                      a cap housing for enclosing the canister fire system and
                      canister within an interior chamber defined by the main body
                      and the cap housing, and in which the main body and the cap
                      housing are formed of plastics material characterized in that
                      a lock system is provided for locking the cap housing on the
                      main body,

                      wherein the lock system includes:

                             helical threads having non-overlapping and distinct
                             thread segments for providing rotational attachment
                             of the cap housing on the main body; and

                             a first lock member that cooperates with a second
                             lock member to achieve a snap lock between the cap
                             housing and the main body when the cap housing is
                             rotationally attached to the main body in a locked
                             position,

                      wherein the thread segments are radially disposed about a
                      central axis and arranged such that the thread segments are
                      non-overlapping with respect to each other along the central
                      axis, wherein the first lock member is interposed between
                      the thread segments, and

                      wherein a release torque required to overcome the lock
                      system is more than 1 Nm and lower than 4 Nm.

                                        The ’643 Patent

              78.     The ’643 patent, entitled “Inhalers and Related Methods” (Exhibit L), duly

and legally issued on February 21, 2023.


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           79.    Norton is the owner and assignee of the ’643 patent.

           80.    The ’643 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

           81.    Claim 1 of the ’643 patent claims:

           A method of metering inhalable substances, the method comprising:

                  providing a medicament inhaler having a metering valve
                  with a metering chamber and a valve stem extending from
                  the metering chamber to an interior reservoir of a canister,
                  the valve stem defining a communication path between the
                  metering chamber and the interior reservoir, the
                  communication path including an opening configured to
                  permit flow between a transfer space inside the valve stem
                  and the interior reservoir;

                  operating the medicament inhaler to cause substances within
                  the metering chamber to vaporise and the valve stem to be in
                  a retracted position relative to the canister for a time period
                  of about 2 minutes to about 24 hours such that atmospheric
                  air enters the metering chamber;

                  following the time period, orienting the interior reservoir
                  above the metering chamber to permit the atmospheric air
                  within the metering chamber to be replaced with a liquid
                  replacement from the interior reservoir; and

                  administering, from the liquid replacement, 75% to 125% of
                  labelled claim for a dose.

           82.    Claim 35 of the ’643 patent claims:

           A method of metering an inhalable composition comprising:

                  discharging a first metered dose from a medicament inhaler
                  having a metering valve with a metering chamber and a
                  valve stem extending from the metering chamber to an
                  interior reservoir of a canister, the valve stem defining a
                  communication path between the metering chamber and the
                  interior reservoir, configured to permit flow between the
                  valve stem and the interior reservoir;




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                upon discharge of the first metered dose, causing the valve
                stem to be in a retracted position for a time period of about
                2 minutes to about 24 hours during which the metering
                chamber stays open and exposed to atmosphere to permit
                atmospheric air to enter the metering chamber;

                at an end of the time period, orienting the interior reservoir
                above the metering chamber to replace the atmospheric air
                within the metering chamber with a replacement liquid; and

                actuating the medicament inhaler to discharge a second
                metered dose having 75% to 125% of labelled claim for a
                dose from the replacement liquid.

         83.    Claim 36 of the ’643 patent claims:

         A method of treating a respiratory disease or disorder by
         administering a therapeutically effective amount of one or more
         active ingredients, the method comprising:

                providing a breath-actuated medicament inhaler having a
                metering valve with a metering chamber and a valve stem
                extending from the metering chamber to an interior reservoir
                of a canister, the valve stem defining a communication path
                between the metering chamber and the interior reservoir, the
                communication path including an opening configured to
                permit flow between a transfer space inside the valve stem
                and the interior reservoir;

                operating the breath-actuated medicament inhaler to cause
                substances within the metering chamber to vaporise and the
                valve stem to be in a retracted position relative to the canister
                for a time period of about 2 minutes to about 24 hours such
                that atmospheric air enters the metering chamber, wherein
                operating the breath-actuated medicament inhaler includes
                inhaling through the breath-actuated medicament inhaler;

                following the time period, resetting the inhaler to a reset
                configuration with a reset actuator to close communication
                between the metering chamber and atmosphere and open
                communication between the metering chamber and the
                interior reservoir;

                while the inhaler is in the reset configuration, orienting the
                interior reservoir above the metering chamber to cause the




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                atmospheric air within the metering chamber to be replaced
                with a liquid replacement from the interior reservoir; and

                administering, from the liquid replacement, 75% to 125% of
                labelled claim for a dose,

                wherein the respiratory disease includes one or more of
                asthma and COPD, and the one or more active ingredients
                include one or more of corticosteroid, beclomethasone
                dipropionate, and tiotropium bromide.

         84.    Claim 37 of the ’643 patent claims:

         A method of treating a respiratory disease or disorder by
         administering a therapeutically effective amount of one or more
         active ingredients, the method comprising:

                providing a breath-actuated medicament inhaler having a
                metering valve with a metering chamber and a valve stem
                extending from the metering chamber to an interior reservoir
                of a canister, the valve stem defining a communication path
                between the metering chamber and the interior reservoir, the
                communication path including an opening configured to
                permit flow between a transfer space inside the valve stem
                and the interior reservoir;

                operating the breath-actuated medicament inhaler to cause
                substances within the metering chamber to vaporise and the
                valve stem to be in a retracted position relative to the canister
                for a time period of about 2 minutes to about 24 hours such
                that atmospheric air enters the metering chamber, wherein
                operating the breath-actuated medicament inhaler includes
                inhaling through the breath-actuated medicament inhaler;

                following the time period, resetting the inhaler to a reset
                configuration with a reset actuator to close communication
                between the metering chamber and atmosphere and open
                communication between the metering chamber and the
                interior reservoir;

                while the inhaler is in the reset configuration, orienting the
                interior reservoir above the metering chamber to cause the
                atmospheric air within the metering chamber to be replaced
                with a liquid replacement from the interior reservoir; and




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                administering, from the liquid replacement, 75% to 125% of
                labelled claim for a dose, wherein the respiratory disease
                includes asthma, and the one or more active ingredients
                include corticosteroid.

         85.    Claim 38 of the ’643 patent claims:

         A method of treating a respiratory disease or disorder by
         administering a therapeutically effective amount of one or more
         active ingredients, the method comprising:

                providing a breath-actuated medicament inhaler having a
                metering valve with a metering chamber and a valve stem
                extending from the metering chamber to an interior reservoir
                of a canister, the valve stem defining a communication path
                between the metering chamber and the interior reservoir, the
                communication path including an opening configured to
                permit flow between a transfer space inside the valve stem
                and the interior reservoir;

                operating the breath-actuated medicament inhaler to cause
                substances within the metering chamber to vaporise and the
                valve stem to be in a retracted position relative to the canister
                for a time period of about 2 minutes to about 24 hours such
                that atmospheric air enters the metering chamber, wherein
                operating the breath-actuated medicament inhaler includes
                inhaling through the breath-actuated medicament inhaler;

                following the time period, resetting the inhaler to a reset
                configuration with a reset actuator to close communication
                between the metering chamber and atmosphere and open
                communication between the metering chamber and the
                interior reservoir;

                while the inhaler is in the reset configuration, orienting the
                interior reservoir above the metering chamber to cause the
                atmospheric air within the metering chamber to be replaced
                with a liquid replacement from the interior reservoir; and

                administering, from the liquid replacement, 75% to 125% of
                labelled claim for a dose,

                wherein the respiratory disease includes asthma and the one
                or more active ingredients include beclomethasone
                dipropionate or tiotropium bromide.




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         86.    Claim 39 of the ’643 patent claims:

         A method of treating a respiratory disease or disorder by
         administering a therapeutically effective amount of one or more
         active ingredients, the method comprising:

                providing a breath-actuated medicament inhaler having a
                metering valve with a metering chamber and a valve stem
                extending from the metering chamber to an interior reservoir
                of a canister, the valve stem defining a communication path
                between the metering chamber and the interior reservoir, the
                communication path including an opening configured to
                permit flow between a transfer space inside the valve stem
                and the interior reservoir;

                operating the breath-actuated medicament inhaler to cause
                substances within the metering chamber to vaporise and the
                valve stem to be in a retracted position relative to the canister
                for a time period of about 2 minutes to about 24 hours such
                that atmospheric air enters the metering chamber, wherein
                operating the breath-actuated medicament inhaler includes
                inhaling through the breath-actuated medicament inhaler;

                following the time period, resetting the inhaler to a reset
                configuration with a reset actuator to close communication
                between the metering chamber and atmosphere and open
                communication between the metering chamber and the
                interior reservoir;

                while the inhaler is in the reset configuration, orienting the
                interior reservoir above the metering chamber to cause the
                atmospheric air within the metering chamber to be replaced
                with a liquid replacement from the interior reservoir; and

                administering, from the liquid replacement, 75% to 125% of
                labelled claim for a dose,

                wherein the respiratory disease includes COPD and the one
                or more active ingredients include corticosteroid.

         87.    Claim 40 of the ’643 patent claims:

         A method of treating a respiratory disease or disorder by
         administering a therapeutically effective amount of one or more
         active ingredients, the method comprising:




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                      providing a breath-actuated medicament inhaler having a
                      metering valve with a metering chamber and a valve stem
                      extending from the metering chamber to an interior reservoir
                      of a canister, the valve stem defining a communication path
                      between the metering chamber and the interior reservoir, the
                      communication path including an opening configured to
                      permit flow between a transfer space inside the valve stem
                      and the interior reservoir;

                      operating the breath-actuated medicament inhaler to cause
                      substances within the metering chamber to vaporise and the
                      valve stem to be in a retracted position relative to the canister
                      for a time period of about 2 minutes to about 24 hours such
                      that atmospheric air enters the metering chamber, wherein
                      operating the breath-actuated medicament inhaler includes
                      inhaling through the breath-actuated medicament inhaler;

                      following the time period, resetting the inhaler to a reset
                      configuration with a reset actuator to close communication
                      between the metering chamber and atmosphere and open
                      communication between the metering chamber and the
                      interior reservoir;

                      while the inhaler is in the reset configuration, orienting the
                      interior reservoir above the metering chamber to cause the
                      atmospheric air within the metering chamber to be replaced
                      with a liquid replacement from the interior reservoir; and
                      administering, from the liquid replacement, 75% to 125% of
                      labelled claim for a dose,

                      wherein the respiratory disease includes COPD and the one
                      or more active ingredients include beclomethasone
                      dipropionate or tiotropium bromide.

                                          The ’953 Patent

              88.     The ’953 patent, entitled “Inhalers and Related Methods” (Exhibit M), duly

and legally issued on October 24, 2023.

              89.     Norton is the owner and assignee of the ’953 patent.

              90.     The ’953 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

              91.     Claim 1 of the ’953 patent claims:


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         A method of preventing gas lock within a medicament inhaler
         having a metering valve with a metering chamber and a valve stem
         extending from the metering chamber to an interior reservoir of a
         canister containing a fluid, the method comprising:

                allowing atmospheric gas to enter the metering chamber;

                retracting the valve stem relative to the canister to create a
                communication path between the metering chamber and the
                interior reservoir for a time period of about 2 minutes to
                about 24 hours; and

                following the time period, altering an orientation of the
                interior reservoir relative to the metering chamber to cause
                an amount of fluid sufficient to administer greater than 75%
                of a labelled claim for a dose to enter the metering chamber
                and displace the atmospheric gas.

         92.    Claim 39 of the ’953 patent claims:

         A method of preventing gas lock within a medicament inhaler
         having a medicament inhaler having a metering valve with a
         metering chamber and valve stem extending from the metering
         chamber to an interior reservoir of a canister:

                discharging a first metered dose from the medicament
                inhaler;

                upon discharge of the first metered dose, retracting the valve
                stem relative to the canister to create a communication path
                between the metering chamber and the interior reservoir for
                a time period of about 2 minutes to about 24 hours, during
                which the metering chamber stays open and exposed to
                atmosphere to permit atmospheric gas to enter the metering
                chamber, wherein the valve stem provides a communication
                path between the metering chamber and the interior reservoir
                and is configured to permit flow between the valve stem and
                the interior reservoir;

                at an end of the time period, altering an orientation of the
                interior reservoir relative to the metering chamber to cause
                an amount of fluid sufficient to enter the metering chamber
                and displace the atmospheric gas; and

                actuating the medicament inhaler to discharge a second
                metered dose including the amount of fluid, the amount of



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                      fluid being sufficient to administer greater than 75% of a
                      labelled claim for a dose.

                                         The ’247 Patent

              93.     The ’247 patent, entitled “Inhalers and Related Methods” (Exhibit N), duly

and legally issued on January 9, 2024.

              94.     Norton is the owner and assignee of the ’247 patent.

              95.     The ’247 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

              96.     Claim 1 of the ’247 patent claims:

              A breath actuated inhaler comprising:

                      a canister housing;

                      a canister displaceable within the canister housing across a
                      travel length between end positions, the canister having a
                      metering valve stem, a metering chamber and a drug
                      reservoir, the metering chamber and the drug reservoir being
                      in fluid communication with each other and the canister
                      being displaced from an end position along the travel length
                      when the canister is in a ready-to-fire position;

                      a dose counter having a dose counter biasing element;

                      a vacuum chamber external to the metering chamber; and

                      a drive coupled to the canister and configured to apply
                      variable forces to the canister that include a ready-to-fire
                      force that is in equilibrium with balancing forces from
                      sources that include the dose counter biasing element and the
                      vacuum chamber, when the canister is the ready-to-fire
                      position.

                                         The ’759 Patent

              97.     The ’759 patent, entitled “Inhalers and Related Methods” (Exhibit O), duly

and legally issued on February 13, 2024.

              98.     Norton is the owner and assignee of the ’759 patent.


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              99.    The ’759 patent is related through a continuation application to U.S. Patent

Nos. 11,559,637.

              100.   The ’759 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

              101.   Claim 1 of the ’759 patent claims:

              An inhaler for the inhalation of inhalable substances, the inhaler
              comprising:

                     a main body and a cap housing defining an interior chamber;

                     a canister enclosed within the interior chamber having an
                     interior reservoir containing pressurised inhalable
                     substances including fluid;

                     a metering valve including a metering chamber and a valve
                     stem defining a communication path between the metering
                     chamber and the interior reservoir, the communication path
                     including an first opening configured to permit flow between
                     a transfer space inside the valve stem and the interior
                     reservoir, the interior reservoir being arranged for
                     orientation above the metering chamber whereby gas located
                     within the metering chamber is replaced with liquid from the
                     interior reservoir; and

                     wherein a lock system is provided for locking the cap
                     housing on the main body;

                     the lock system including helical threads having non-
                     overlapping and distinct thread segments for providing
                     rotational attachment of the cap housing to the main body
                     and a first lock member that cooperates with a second lock
                     member to achieve a snap lock between the cap housing and
                     the main body when the cap housing is rotationally attached
                     to the main body in a locked position;

                     wherein the thread segments are radially disposed about a
                     central axis and arranged such that the thread segments are
                     non-overlapping with respect to each other along the central
                     axis; and




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                      wherein the first lock member is interposed between the
                      thread segments.

                                        The ’832 Patent

               102.   The ’832 patent, entitled “Breath Actuated Inhaler” (Exhibit P), duly and

legally issued on April 16, 2024.

               103.   Norton is the owner and assignee of the ’832 patent.

               104.   The ’832 patent is listed in connection with Qvar RediHaler® in the Orange

Book.

               105.   Claim 1 of the ’832 patent claims:

               A valve port for a pneumatic force holding unit in a breath actuated
               metered dose inhaler, said valve port comprising:

                      a valve seal surface configured to be sealably engaged by a
                      movable valve seal, wherein the valve seal surface has a
                      surface roughness average (RA) of less than about 0.15 μm;
                      and

                      an annular boss with an inner wall defining a valve orifice
                      channel wherein;

                      a volume of the valve orifice channel is greater than about
                      12.7% of a volume of the annular boss; or

                      the inner wall defines a frustum of an imaginary cone with
                      an apex angle of greater than about 20 degrees.

                                INFRINGEMENT BY CIPLA

               106.   On information and belief, Cipla submitted Cipla’s ANDA to FDA under

21 U.S.C. § 355(j), in order to obtain approval to engage in the commercial manufacture, use or

sale in the United States of Cipla’s ANDA Product.

               107.   On information and belief, Cipla will manufacture, offer for sale, or sell

Cipla’s ANDA Products within the United States, including within New Jersey, or will import

Cipla’s ANDA Products into the United States, including New Jersey.


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               108.   On information and belief, Defendants will actively induce or contribute to

infringement by Cipla’s ANDA Product.

               109.   By letter dated January 4, 2024 (“Cipla’s First 40 mcg Notice Letter”), Cipla

notified Teva that it was seeking approval from the FDA to engage in the commercial manufacture,

use, offer for sale, sale, and/or importation of Cipla’s Beclomethasone Dipropionate Inhalation

Aerosol, 40 mcg (“Cipla’s 40 mcg ANDA Product”).

               110.   In Cipla’s First 40 mcg Notice Letter, Cipla alleged that U.S. Patent Nos.

8,132,712 (the “’712 patent”), 8,931,476 (the “’476 patent”), 10,022,509 (the “’509 patent”),

10,022,510 (the “’510 patent”), 10,086,156 (the “’156 patent”), 10,561,808 (the “’808 patent”),

10,695,512 (the “’512 patent”), 10,792,447 (the “’447 patent”), 11,395,888 (the “’888 patent”),

11,395,889 (the “’889 patent”), 11,559,637 (the “’637 patent”), and 11,583,643 (the “’643 patent”)

are invalid, not infringed by the commercial manufacture, use, or sale of Cipla’s 40 mcg ANDA

Product, and/or unenforceable.

               111.   In Cipla’s First 40 mcg Notice Letter, Cipla stated that the subject of Cipla’s

ANDA No. 219000 (“Cipla’s 40 mcg ANDA”) is “Beclomethasone Dipropionate HFA Inhalation

Aerosol, 40 mcg.”

               112.   In Cipla’s First 40 mcg Notice Letter, Cipla stated that the active ingredient

of Cipla’s 40 mcg ANDA Product is beclomethasone dipropionate.

               113.   In Cipla’s First 40 mcg Notice Letter, Cipla stated that the proposed dosage

strength of Cipla’s 40 mcg ANDA Product is 40 mcg per actuation.

               114.   In Cipla’s First 40 mcg Notice Letter, Cipla stated that the established name

of the proposed drug product that is the subject of Cipla’s 40 mcg ANDA is “Beclomethasone

Dipropionate HFA Inhalation Aerosol, 40 mcg.”




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               115.    Cipla’s First 40 mcg Notice Letter purported to provide Teva with an Offer

of Confidential Access (“OCA”) to portions of Cipla’s 40 mcg ANDA (“Cipla’s First 40 mcg

OCA”). That offer, however, was subject to various unreasonably restrictive conditions.

               116.    In an exchange of correspondence, counsel for Plaintiffs and counsel for

Cipla discussed the terms of Cipla’s First 40 mcg OCA. The parties did not agree on terms under

which Plaintiffs could review, among other things, Cipla’s 40 mcg ANDA and any Drug Master

File referred to therein, and Cipla refused to produce samples of Cipla’s 40 mcg ANDA Product

and other internal documents and material relevant to infringement.

               117.    On January 16, 2024, Teva’s counsel sent Cipla’s counsel a letter requesting

documents and identifying various unreasonably restrictive terms in Cipla’s First 40 mcg OCA,

including but not limited to restrictions on the conduct of Teva’s outside counsel in future post-

grant and FDA proceedings, prohibitions on providing information to outside consultants, choice

of law, and limitations on the scope of documents Cipla would provide to Teva.

               118.    On January 25, 2024, Cipla’s counsel sent Teva’s counsel an email refusing

to provide the documents and materials requested by Teva and necessary to evaluate Cipla’s 40

mcg ANDA Products for infringement.

               119.    On February 8, 2024, Teva’s counsel reiterated to Cipla’s counsel via email

Teva’s need for specific materials to evaluate infringement and proposed reasonable terms for

confidentiality protections.

               120.    Teva’s counsel did not receive a response to its February 8, 2024 email.

               121.    On February 16, 2024, Teva sued Cipla for infringement of the patents

identified in Cipla’s First Notice Letter in this district. Civil Action No. 2:24-cv-00909-SRC-

MAH.




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               122.    By letter dated March 15, 2024 (“Cipla’s Second 40 mcg Notice Letter”),

Cipla notified Teva that it had filed Paragraph IV Certifications with respect to the ’953 patent and

the ’247 patent and was seeking approval from the FDA to engage in the commercial manufacture,

use, offer for sale, sale, and/or importation of Cipla’s 40 mcg ANDA Product prior to the expiration

of the ’953 patent and the ’247 patent.

               123.    Cipla’s Second 40 mcg Notice Letter purported to provide Teva with a

second OCA to portions of Cipla’s 40 mcg ANDA (“Cipla’s Second 40 mcg OCA”). That offer,

however, was subject to the same unreasonably restrictive conditions as Cipla’s First 40 mcg OCA.

               124.    On April 1, 2024, Teva’s counsel explained to Cipla’s counsel via email

Teva’s understanding that the impasse regarding Cipla’s First 40 mcg OCA remained with respect

to Cipla’s Second 40 mcg OCA. Cipla’s counsel did not dispute that understanding when

responding to the April 1, 2024 email.

               125.    By letter dated April 23, 2024 (“Cipla’s Third 40 mcg Notice Letter”), Cipla

notified Teva that it had filed a Paragraph IV Certification with respect to the ’759 patent and was

seeking approval from the FDA to engage in the commercial manufacture, use, offer for sale, sale,

and/or importation of Cipla’s 40 mcg ANDA Product prior to the expiration of the ’759 patent and

the ’759 patent.

               126.    Cipla’s Third 40 mcg Notice Letter purported to provide Teva with a third

OCA to portions of Cipla’s 40 mcg ANDA (“Cipla’s Third 40 mcg OCA”). That offer, however,

was subject to the same unreasonably restrictive conditions as Cipla’s First 40 mcg OCA and

Cipla’s Second 40 mcg OCA.




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               127.   On May 6, 2024, Teva sued Cipla for infringement of the patents identified

in Cipla’s Second 40 mcg Notice Letter and Cipla’s Third 40 mcg Notice Letter in this district.

Civil Action No. 2:24-cv-05856-SRC-MAH.

               128.   By letter dated May 31, 2024 (“Cipla’s Fourth 40 mcg Notice Letter”),

Cipla notified Teva that it had filed a Paragraph IV Certification with respect to the ’832 patent

and was seeking approval from the FDA to engage in the commercial manufacture, use, offer for

sale, sale, and/or importation of Cipla’s 40 mcg ANDA Product prior to the expiration of the ’832

patent.

               129.   Cipla’s Fourth 40 mcg Notice Letter purported to provide Teva with a fourth

OCA to portions of Cipla’s 40 mcg ANDA (“Cipla’s Fourth 40 mcg OCA”). That offer, however,

was subject to the same unreasonably restrictive conditions as Cipla’s First 40 mcg OCA, Cipla’s

Second 40 mcg OCA, and Cipla’s Third 40 mcg OCA.

               130.   On June 4, 2024, Teva’s counsel explained to Cipla’s counsel via email

Teva’s understanding that the impasse regarding Cipla’s First 40 mcg OCA, Cipla’s Second 40

mcg OCA, and Cipla’s Third 40 mcg OCA remained with respect to Cipla’s Fourth 40 mcg OCA.

Cipla’s counsel did not dispute that understanding when responding to the June 4, 2024 email.

               131.   On June 21, 2024, Teva sued Cipla for infringement of the patents identified

in Cipla’s Fourth 40 mcg Notice Letter in this district. Civil Action No. 2:24-cv-07162-SRC-

MAH.

               132.   By letter dated September 12, 2024 (“Cipla’s 80 mcg Notice Letter”), Cipla

notified Teva that it had filed Paragraph IV Certifications with respect to the Patents-in-Suit and

was seeking approval from the FDA to engage in the commercial manufacture, use, offer for sale,

sale, and/or importation of Cipla’s ANDA Product prior to the expiration of the Patents-in-Suit.




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On information and belief, Cipla’s ANDA contains Paragraph IV Certifications asserting that the

Patents-in-Suit will not be infringed by the manufacture, use, offer for sale, sale, or importation of

Cipla’s ANDA Product, or alternatively, that the Patents-in-Suit are invalid.

               133.    The purpose of Cipla’s submission of Cipla’s ANDA was to obtain approval

under the Federal Food, Drug and Cosmetic Act to engage in the commercial manufacture, use,

offer for sale, sale, and/or importation of Cipla’s ANDA Product prior to the expiration of the

Patents-in-Suit.

               134.    In Cipla’s 80 mcg Notice Letter, Cipla stated that the subject of Cipla’s

ANDA is “beclomethasone dipropionate HFA inhalation aerosol, 80 mcg.”

               135.    In Cipla’s 80 mcg Notice Letter, Cipla stated that the active ingredient of

Cipla’s ANDA Product is beclomethasone dipropionate.

               136.    In Cipla’s 80 mcg Notice Letter, Cipla stated that the proposed dosage

strength of Cipla’s ANDA Product is 80 mcg per actuation.

               137.    In Cipla’s 80 mcg Notice Letter, Cipla stated that the established name of

the proposed drug product that is the subject of Cipla’s ANDA is “Beclomethasone Dipropionate

HFA Inhalation Aerosol, 80 mcg.”

               138.    Cipla’s 80 mcg Notice Letter purported to provide Teva with an OCA to

portions of Cipla’s ANDA. That offer, however, was subject to the same unreasonably restrictive

conditions as Cipla’s First 40 mcg OCA, Cipla’s Second 40 mcg OCA, Cipla’s Third 40 mcg

OCA, and Cipla’s Fourth 40 mcg OCA.

               139.    On September 19, 2024, Teva’s counsel explained to Cipla’s counsel via

email Teva’s understanding that the impasse regarding Cipla’s First 40 mcg OCA, Cipla’s Second

40 mcg OCA, Cipla’s Third 40 mcg OCA, and Cipla’s Fourth 40 mcg OCA remained with respect




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to Cipla’s 80 mcg OCA. Teva’s counsel did not receive a response to its September 19, 2024

email.

                140.    Cipla’s 80 mcg Notice Letter appends a document titled “Detailed

Statement” asserting that the commercial manufacture, use, or sale of Cipla’s ANDA Product will

not infringe any of the Patents-in-Suit. However, Cipla’s 80 mcg Notice Letter and “Detailed

Statement” do not provide information regarding Cipla’s ANDA Product sufficient to evaluate

Cipla’s assertions of noninfringement. Indeed, Cipla’s 80 mcg Notice Letter and “Detailed

Statement” fail to provide any information regarding Cipla’s ANDA Product beyond the

unsupported and unexplained assertions by Cipla’s attorneys that Cipla’s ANDA Product do not

meet certain limitations of each of the Patents-in-Suit.

                141.    This action is being commenced before the expiration of forty-five days

from the date of the receipt of Cipla’s 80 mcg Notice Letter.

                           COUNT 1 – INFRINGEMENT BY CIPLA
                       OF THE ’712 PATENT UNDER 35 U.S.C. § 271(e)(2)

                142.    Plaintiffs incorporate each of the preceding paragraphs 1–141 as if fully set

forth herein.

                143.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’712 patent was an act of infringement of the ’712

patent under 35 U.S.C. § 271(e)(2)(A).

                144.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1, 18, and/or 19 of the ’712 patent, recited above, either literally or under the doctrine of

equivalents.



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               145.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

               146.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims

1, 18, and/or 19 of the ’712 patent, recited above.

               147.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’712 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               148.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’712 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’712 patent after approval of Cipla’s ANDA.

               149.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’712 patent, active inducement of infringement of the ’712 patent, and

contribution to the infringement by others of the ’712 patent.

               150.    On information and belief, Cipla has acted with full knowledge of the ’712

patent and without a reasonable basis for believing that it would not be liable for infringing the

’712 patent, actively inducing infringement of the ’712 patent, and contributing to the infringement

by others of the ’712 patent.




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                151.    Unless Cipla is enjoined from infringing the ’712 patent, actively inducing

infringement of the ’712 patent, and contributing to the infringement by others of the ’712 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 2 – INFRINGEMENT BY CIPLA
                       OF THE ’476 PATENT UNDER 35 U.S.C. § 271(e)(2)

                152.    Plaintiffs incorporate each of the preceding paragraphs 1–151 as if fully set

forth herein.

                153.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’476 patent was an act of infringement of the ’476

patent under 35 U.S.C. § 271(e)(2)(A).

                154.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1 and/or 17 of the ’476 patent, recited above, either literally or under the doctrine of

equivalents.

                155.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

                156.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims 1

and/or 17 of the ’476 patent, recited above.

                157.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’476 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.



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                158.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’476 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’476 patent after approval of Cipla’s ANDA.

                159.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’476 patent, active inducement of infringement of the ’476 patent, and

contribution to the infringement by others of the ’476 patent.

                160.    On information and belief, Cipla has acted with full knowledge of the ’476

patent and without a reasonable basis for believing that it would not be liable for infringing the

’476 patent, actively inducing infringement of the ’476 patent, and contributing to the infringement

by others of the ’476 patent.

                161.    Unless Cipla is enjoined from infringing the ’476 patent, actively inducing

infringement of the ’476 patent, and contributing to the infringement by others of the ’476 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 3 – INFRINGEMENT BY CIPLA
                       OF THE ’509 PATENT UNDER 35 U.S.C. § 271(e)(2)

                162.    Plaintiffs incorporate each of the preceding paragraphs 1–161 as if fully set

forth herein.

                163.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’509 patent was an act of infringement of the ’509

patent under 35 U.S.C. § 271(e)(2)(A).




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               164.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’509 patent, recited above, either literally or under the doctrine of equivalents.

               165.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

               166.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’509 patent, recited above.

               167.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’509 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               168.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’509 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’509 patent after approval of Cipla’s ANDA.

               169.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’509 patent, active inducement of infringement of the ’509 patent, and

contribution to the infringement by others of the ’509 patent.

               170.    On information and belief, Cipla has acted with full knowledge of the ’509

patent and without a reasonable basis for believing that it would not be liable for infringing the




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’509 patent, actively inducing infringement of the ’509 patent, and contributing to the infringement

by others of the ’509 patent.

                171.    Unless Cipla is enjoined from infringing the ’509 patent, actively inducing

infringement of the ’509 patent, and contributing to the infringement by others of the ’509 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 4 – INFRINGEMENT BY CIPLA
                       OF THE ’510 PATENT UNDER 35 U.S.C. § 271(e)(2)

                172.    Plaintiffs incorporate each of the preceding paragraphs 1–171 as if fully set

forth herein.

                173.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’510 patent was an act of infringement of the ’510

patent under 35 U.S.C. § 271(e)(2)(A).

                174.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1, 10, and/or 20 of the ’510 patent, recited above, either literally or under the doctrine of

equivalents.

                175.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

                176.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims

1, 10, and/or 20 of the ’510 patent, recited above.




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                177.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’510 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

                178.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’510 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’510 patent after approval of Cipla’s ANDA.

                179.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’510 patent, active inducement of infringement of the ’510 patent, and

contribution to the infringement by others of the ’510 patent.

                180.    On information and belief, Cipla has acted with full knowledge of the ’510

patent and without a reasonable basis for believing that it would not be liable for infringing the

’510 patent, actively inducing infringement of the ’510 patent, and contributing to the infringement

by others of the ’510 patent.

                181.    Unless Cipla is enjoined from infringing the ’510 patent, actively inducing

infringement of the ’510 patent, and contributing to the infringement by others of the ’510 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 5 – INFRINGEMENT BY CIPLA
                       OF THE ’156 PATENT UNDER 35 U.S.C. § 271(e)(2)

                182.    Plaintiffs incorporate each of the preceding paragraphs 1–181 as if fully set

forth herein.

                183.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s



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ANDA Product prior to the expiration of the ’156 patent was an act of infringement of the ’156

patent under 35 U.S.C. § 271(e)(2)(A).

               184.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’156 patent, recited above, either literally or under the doctrine of equivalents.

               185.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

               186.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’156 patent, recited above.

               187.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’156 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               188.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’156 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’156 patent after approval of Cipla’s ANDA.

               189.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’156 patent, active inducement of infringement of the ’156 patent, and

contribution to the infringement by others of the ’156 patent.




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                190.    On information and belief, Cipla has acted with full knowledge of the ’156

patent and without a reasonable basis for believing that it would not be liable for infringing the

’156 patent, actively inducing infringement of the ’156 patent, and contributing to the infringement

by others of the ’156 patent.

                191.    Unless Cipla is enjoined from infringing the ’156 patent, actively inducing

infringement of the ’156 patent, and contributing to the infringement by others of the ’156 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 6 – INFRINGEMENT BY CIPLA
                       OF THE ’808 PATENT UNDER 35 U.S.C. § 271(e)(2)

                192.    Plaintiffs incorporate each of the preceding paragraphs 1–191 as if fully set

forth herein.

                193.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’808 patent was an act of infringement of the ’808

patent under 35 U.S.C. § 271(e)(2)(A).

                194.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’808 patent, recited above, either literally or under the doctrine of equivalents.

                195.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

                196.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’808 patent, recited above.



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                197.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’808 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

                198.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’808 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’808 patent after approval of Cipla’s ANDA.

                199.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’808 patent, active inducement of infringement of the ’808 patent, and

contribution to the infringement by others of the ’808 patent.

                200.    On information and belief, Cipla has acted with full knowledge of the ’808

patent and without a reasonable basis for believing that it would not be liable for infringing the

’808 patent, actively inducing infringement of the ’808 patent, and contributing to the infringement

by others of the ’808 patent.

                201.    Unless Cipla is enjoined from infringing the ’808 patent, actively inducing

infringement of the ’808 patent, and contributing to the infringement by others of the ’808 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 7 – INFRINGEMENT BY CIPLA
                       OF THE ’512 PATENT UNDER 35 U.S.C. § 271(e)(2)

                202.    Plaintiffs incorporate each of the preceding paragraphs 1–201 as if fully set

forth herein.

                203.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s



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ANDA Product prior to the expiration of the ’512 patent was an act of infringement of the ’512

patent under 35 U.S.C. § 271(e)(2)(A).

               204.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’512 patent, recited above, either literally or under the doctrine of equivalents.

               205.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

               206.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’512 patent, recited above.

               207.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’512 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               208.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’512 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’512 patent after approval of Cipla’s ANDA.

               209.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’512 patent, active inducement of infringement of the ’512 patent, and

contribution to the infringement by others of the ’512 patent.




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                210.    On information and belief, Cipla has acted with full knowledge of the ’512

patent and without a reasonable basis for believing that it would not be liable for infringing the

’512 patent, actively inducing infringement of the ’512 patent, and contributing to the infringement

by others of the ’512 patent.

                211.    Unless Cipla is enjoined from infringing the ’512 patent, actively inducing

infringement of the ’512 patent, and contributing to the infringement by others of the ’512 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 8 – INFRINGEMENT BY CIPLA
                       OF THE ’447 PATENT UNDER 35 U.S.C. § 271(e)(2)

                212.    Plaintiffs incorporate each of the preceding paragraphs 1–211 as if fully set

forth herein.

                213.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’447 patent was an act of infringement of the ’447

patent under 35 U.S.C. § 271(e)(2)(A).

                214.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1 and/or 10 of the ’447 patent, recited above, either literally or under the doctrine of

equivalents.

                215.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.




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               216.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims 1

and/or 10 of the ’447 patent, recited above.

               217.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’447 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               218.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’447 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’447 patent after approval of Cipla’s ANDA.

               219.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’447 patent, active inducement of infringement of the ’447 patent, and

contribution to the infringement by others of the ’447 patent.

               220.    On information and belief, Cipla has acted with full knowledge of the ’447

patent and without a reasonable basis for believing that it would not be liable for infringing the

’447 patent, actively inducing infringement of the ’447 patent, and contributing to the infringement

by others of the ’447 patent.

               221.    Unless Cipla is enjoined from infringing the ’447 patent, actively inducing

infringement of the ’447 patent, and contributing to the infringement by others of the ’447 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                          COUNT 9 – INFRINGEMENT BY CIPLA




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                       OF THE ’888 PATENT UNDER 35 U.S.C. § 271(e)(2)

                222.    Plaintiffs incorporate each of the preceding paragraphs 1–221 as if fully set

forth herein.

                223.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’888 patent was an act of infringement of the ’888

patent under 35 U.S.C. § 271(e)(2)(A).

                224.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1 and/or 25 of the ’888 patent, recited above, either literally or under the doctrine of

equivalents.

                225.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

                226.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims 1

and/or 25 of the ’888 patent, recited above.

                227.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’888 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

                228.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’888 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing




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use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’888 patent after approval of Cipla’s ANDA.

                229.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’888 patent, active inducement of infringement of the ’888 patent, and

contribution to the infringement by others of the ’888 patent.

                230.    On information and belief, Cipla has acted with full knowledge of the ’888

patent and without a reasonable basis for believing that it would not be liable for infringing the

’888 patent, actively inducing infringement of the ’888 patent, and contributing to the infringement

by others of the ’888 patent.

                231.    Unless Cipla is enjoined from infringing the ’888 patent, actively inducing

infringement of the ’888 patent, and contributing to the infringement by others of the ’888 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 10 – INFRINGEMENT BY CIPLA
                       OF THE ’889 PATENT UNDER 35 U.S.C. § 271(e)(2)

                232.    Plaintiffs incorporate each of the preceding paragraphs 1–231 as if fully set

forth herein.

                233.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’889 patent was an act of infringement of the ’889

patent under 35 U.S.C. § 271(e)(2)(A).

                234.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’889 patent, recited above, either literally or under the doctrine of equivalents.




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               235.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

               236.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’889 patent, recited above.

               237.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’889 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               238.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling is especially made or adapted for use in infringing the ’889 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’889 patent after approval of Cipla’s ANDA.

               239.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’889 patent, active inducement of infringement of the ’889 patent, and

contribution to the infringement by others of the ’889 patent.

               240.    On information and belief, Cipla has acted with full knowledge of the ’889

patent and without a reasonable basis for believing that it would not be liable for infringing the

’889 patent, actively inducing infringement of the ’889 patent, and contributing to the infringement

by others of the ’889 patent.




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                241.    Unless Cipla is enjoined from infringing the ’889 patent, actively inducing

infringement of the ’889 patent, and contributing to the infringement by others of the ’889 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 11 – INFRINGEMENT BY CIPLA
                       OF THE ’637 PATENT UNDER 35 U.S.C. § 271(e)(2)

                242.    Plaintiffs incorporate each of the preceding paragraphs 1–241 as if fully set

forth herein.

                243.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’637 patent was an act of infringement of the ’637

patent under 35 U.S.C. § 271(e)(2)(A).

                244.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1 and/or 28 of the ’637 patent, recited above, either literally or under the doctrine of

equivalents.

                245.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

                246.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims 1

and/or 28 of the ’637 patent, recited above.

                247.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’637 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.



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                248.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling is especially made or adapted for use in infringing the ’637 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’637 patent after approval of Cipla’s ANDA.

                249.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’637 patent, active inducement of infringement of the ’637 patent, and

contribution to the infringement by others of the ’637 patent.

                250.    On information and belief, Cipla has acted with full knowledge of the ’637

patent and without a reasonable basis for believing that it would not be liable for infringing the

’637 patent, actively inducing infringement of the ’637 patent, and contributing to the infringement

by others of the ’637 patent.

                251.    Unless Cipla is enjoined from infringing the ’637 patent, actively inducing

infringement of the ’637 patent, and contributing to the infringement by others of the ’637 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 12 – INFRINGEMENT BY CIPLA
                       OF THE ’643 PATENT UNDER 35 U.S.C. § 271(e)(2)

                252.    Plaintiffs incorporate each of the preceding paragraphs 1–251 as if fully set

forth herein.

                253.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’643 patent was an act of infringement of the ’643

patent under 35 U.S.C. § 271(e)(2)(A).




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               254.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1, 35, 36, 37, 38, 39, and/or 40 of the ’643 patent, recited above, either literally or under

the doctrine of equivalents.

               255.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

               256.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims

1, 35, 36, 37, 38, 39, and/or 40 of the ’643 patent, recited above.

               257.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’643 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               258.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling is especially made or adapted for use in infringing the ’643 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’643 patent after approval of Cipla’s ANDA.

               259.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’643 patent, active inducement of infringement of the ’643 patent, and

contribution to the infringement by others of the ’643 patent.

               260.    On information and belief, Cipla has acted with full knowledge of the ’643

patent and without a reasonable basis for believing that it would not be liable for infringing the




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’643 patent, actively inducing infringement of the ’643 patent, and contributing to the infringement

by others of the ’643 patent.

                261.    Unless Cipla is enjoined from infringing the ’643 patent, actively inducing

infringement of the ’643 patent, and contributing to the infringement by others of the ’643 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 13 – INFRINGEMENT BY CIPLA
                       OF THE ’953 PATENT UNDER 35 U.S.C. § 271(e)(2)

                262.    Plaintiffs incorporate each of the preceding paragraphs 1–261 as if fully set

forth herein.

                263.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’953 patent was an act of infringement of the ’953

patent under 35 U.S.C. § 271(e)(2)(A).

                264.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1 and/or 39 of the ’953 patent, recited above, either literally or under the doctrine of

equivalents.

                265.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

                266.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims 1

and/or 39 of the ’953 patent, recited above.




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                267.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’953 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

                268.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling is especially made or adapted for use in infringing the ’953 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’953 patent after approval of Cipla’s ANDA.

                269.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’953 patent, active inducement of infringement of the ’953 patent, and

contribution to the infringement by others of the ’953 patent.

                270.    On information and belief, Cipla has acted with full knowledge of the ’953

patent and without a reasonable basis for believing that it would not be liable for infringing the

’953 patent, actively inducing infringement of the ’953 patent, and contributing to the infringement

by others of the ’953 patent.

                271.    Unless Cipla is enjoined from infringing the ’953 patent, actively inducing

infringement of the ’953 patent, and contributing to the infringement by others of the ’953 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 14 – INFRINGEMENT BY CIPLA
                       OF THE ’247 PATENT UNDER 35 U.S.C. § 271(e)(2)

                272.    Plaintiffs incorporate each of the preceding paragraphs 1–271 as if fully set

forth herein.

                273.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s



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ANDA Product prior to the expiration of the ’247 patent was an act of infringement of the ’247

patent under 35 U.S.C. § 271(e)(2)(A).

               274.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’247 patent, recited above, either literally or under the doctrine of equivalents.

               275.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

               276.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’247 patent, recited above.

               277.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’247 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               278.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling is especially made or adapted for use in infringing the ’247 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’247 patent after approval of Cipla’s ANDA.

               279.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’247 patent, active inducement of infringement of the ’247 patent, and

contribution to the infringement by others of the ’247 patent.




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                280.    On information and belief, Cipla has acted with full knowledge of the ’247

patent and without a reasonable basis for believing that it would not be liable for infringing the

’247 patent, actively inducing infringement of the ’247 patent, and contributing to the infringement

by others of the ’247 patent.

                281.    Unless Cipla is enjoined from infringing the ’247 patent, actively inducing

infringement of the ’247 patent, and contributing to the infringement by others of the ’247 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 15 – INFRINGEMENT BY CIPLA
                       OF THE ’759 PATENT UNDER 35 U.S.C. § 271(e)(2)

                282.    Plaintiffs incorporate each of the preceding paragraphs 1–281 as if fully set

forth herein.

                283.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s

ANDA Product prior to the expiration of the ’759 patent was an act of infringement of the ’759

patent under 35 U.S.C. § 271(e)(2)(A).

                284.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’759 patent, recited above, either literally or under the doctrine of equivalents.

                285.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

                286.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’759 patent, recited above.



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                287.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’759 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

                288.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling is especially made or adapted for use in infringing the ’759 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’759 patent after approval of Cipla’s ANDA.

                289.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’759 patent, active inducement of infringement of the ’759 patent, and

contribution to the infringement by others of the ’759 patent.

                290.    On information and belief, Cipla has acted with full knowledge of the ’759

patent and without a reasonable basis for believing that it would not be liable for infringing the

’759 patent, actively inducing infringement of the ’759 patent, and contributing to the infringement

by others of the ’759 patent.

                291.    Unless Cipla is enjoined from infringing the ’759 patent, actively inducing

infringement of the ’759 patent, and contributing to the infringement by others of the ’759 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                           COUNT 16 – INFRINGEMENT BY CIPLA
                       OF THE ’832 PATENT UNDER 35 U.S.C. § 271(e)(2)

                292.    Plaintiffs incorporate each of the preceding paragraphs 1–291 as if fully set

forth herein.

                293.    Cipla’s submission of Cipla’s ANDA for the purpose of obtaining approval

to engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Cipla’s



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ANDA Product prior to the expiration of the ’832 patent was an act of infringement of the ’832

patent under 35 U.S.C. § 271(e)(2)(A).

               294.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’832 patent, recited above, either literally or under the doctrine of equivalents.

               295.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product immediately

and imminently upon FDA approval of Cipla’s ANDA.

               296.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’832 patent, recited above.

               297.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’832 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               298.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling is especially made or adapted for use in infringing the ’832 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’832 patent after approval of Cipla’s ANDA.

               299.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’832 patent, active inducement of infringement of the ’832 patent, and

contribution to the infringement by others of the ’832 patent.




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                300.   On information and belief, Cipla has acted with full knowledge of the ’832

patent and without a reasonable basis for believing that it would not be liable for infringing the

’832 patent, actively inducing infringement of the ’832 patent, and contributing to the infringement

by others of the ’832 patent.

                301.   Unless Cipla is enjoined from infringing the ’832 patent, actively inducing

infringement of the ’832 patent, and contributing to the infringement by others of the ’832 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 17 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’712 PATENT

                302.   Plaintiffs incorporate each of the preceding paragraphs 1–301 as if fully set

forth herein.

                303.   Cipla has knowledge of the ’712 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                304.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1, 18, and/or 19 of the ’712 patent, recited above, either literally or under the doctrine of

equivalents.

                305.   On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

                306.   On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims

1, 18, and/or 19 of the ’712 patent, recited above.




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               307.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’712 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               308.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’712 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’712 patent after approval of Cipla’s ANDA.

               309.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’712 patent, active inducement of infringement of the ’712 patent, and

contribution to the infringement by others of the ’712 patent.

               310.    On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’712 patent, actively inducing infringement

of the ’712 patent, and contributing to the infringement by others of the ’712 patent.

               311.    Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claims 1, 18, and/or 19 of the ’712 patent, recited above,

and whether said claims of the ’712 patent are valid.

               312.    Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’712 patent and that the claims of the ’712 patent are valid.




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                313.   Cipla should be enjoined from infringing the ’712 patent, actively inducing

infringement of the ’712 patent, and contributing to the infringement by others of the ’712 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 18 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’476 PATENT

                314.   Plaintiffs incorporate each of the preceding paragraphs 1–313 as if fully set

forth herein.

                315.   Cipla has knowledge of the ’476 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                316.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1 and/or 17 of the ’476 patent, recited above, either literally or under the doctrine of

equivalents.

                317.   On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

                318.   On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims 1

and/or 17 of the ’476 patent, recited above.

                319.   On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’476 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

                320.   On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’476 patent and that



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Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’476 patent after approval of Cipla’s ANDA.

               321.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’476 patent, active inducement of infringement of the ’476 patent, and

contribution to the infringement by others of the ’476 patent.

               322.    On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’476 patent, actively inducing infringement

of the ’476 patent, and contributing to the infringement by others of the ’476 patent.

               323.    Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claims 1 and/or 17 of the ’476 patent, recited above, and

whether said claims of the ’476 patent are valid.

               324.    Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’476 patent and that the claims of the ’476 patent are valid.

               325.    Cipla should be enjoined from infringing the ’476 patent, actively inducing

infringement of the ’476 patent, and contributing to the infringement by others of the ’476 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 19 – DECLARATORY JUDGMENT OF INFRINGEMENT




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                               BY CIPLA OF THE ’509 PATENT

                326.   Plaintiffs incorporate each of the preceding paragraphs 1–325 as if fully set

forth herein.

                327.   Cipla has knowledge of the ’509 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                328.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’509 patent, recited above, either literally or under the doctrine of equivalents.

                329.   On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

                330.   On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’509 patent, recited above.

                331.   On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’509 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

                332.   On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’509 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’509 patent after approval of Cipla’s ANDA.




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                333.   The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’509 patent, active inducement of infringement of the ’509 patent, and

contribution to the infringement by others of the ’509 patent.

                334.   On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’509 patent, actively inducing infringement

of the ’509 patent, and contributing to the infringement by others of the ’509 patent.

                335.   Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claim 1 of the ’509 patent, recited above, and whether said

claim or claims of the ’509 patent are valid.

                336.   Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’509 patent and that the claims of the ’509 patent are valid.

                337.   Cipla should be enjoined from infringing the ’509 patent, actively inducing

infringement of the ’509 patent, and contributing to the infringement by others of the ’509 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 20 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’510 PATENT

                338.   Plaintiffs incorporate each of the preceding paragraphs 1–337 as if fully set

forth herein.

                339.   Cipla has knowledge of the ’510 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.



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               340.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1, 10, and/or 20 of the ’510 patent, recited above, either literally or under the doctrine of

equivalents.

               341.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

               342.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims

1, 10, and/or 20 of the ’510 patent, recited above.

               343.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’510 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               344.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’510 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’510 patent after approval of Cipla’s ANDA.

               345.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’510 patent, active inducement of infringement of the ’510 patent, and

contribution to the infringement by others of the ’510 patent.




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                346.   On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’510 patent, actively inducing infringement

of the ’510 patent, and contributing to the infringement by others of the ’510 patent.

                347.   Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claims 1, 10, and/or 20 of the ’510 patent, recited above,

and whether said claims of the ’510 patent are valid.

                348.   Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’510 patent and that the claims of the ’510 patent are valid.

                349.   Cipla should be enjoined from infringing the ’510 patent, actively inducing

infringement of the ’510 patent, and contributing to the infringement by others of the ’510 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 21 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’156 PATENT

                350.   Plaintiffs incorporate each of the preceding paragraphs 1–349 as if fully set

forth herein.

                351.   Cipla has knowledge of the ’156 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                352.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’156 patent, recited above, either literally or under the doctrine of equivalents.



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               353.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

               354.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’156 patent, recited above.

               355.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’156 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               356.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’156 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’156 patent after approval of Cipla’s ANDA.

               357.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’156 patent, active inducement of infringement of the ’156 patent, and

contribution to the infringement by others of the ’156 patent.

               358.    On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’156 patent, actively inducing infringement

of the ’156 patent, and contributing to the infringement by others of the ’156 patent.

               359.    Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according




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to Cipla’s ANDA will infringe at least claim 1 of the ’156 patent, recited above, and whether said

claim or claims of the ’156 patent are valid.

                360.   Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’156 patent and that the claims of the ’156 patent are valid.

                361.   Cipla should be enjoined from infringing the ’156 patent, actively inducing

infringement of the ’156 patent, and contributing to the infringement by others of the ’156 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 22 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’808 PATENT

                362.   Plaintiffs incorporate each of the preceding paragraphs 1–361 as if fully set

forth herein.

                363.   Cipla has knowledge of the ’808 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                364.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’808 patent, recited above, either literally or under the doctrine of equivalents.

                365.   On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

                366.   On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’808 patent, recited above.



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               367.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’808 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               368.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’808 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’808 patent after approval of Cipla’s ANDA.

               369.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’808 patent, active inducement of infringement of the ’808 patent, and

contribution to the infringement by others of the ’808 patent.

               370.    On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’808 patent, actively inducing infringement

of the ’808 patent, and contributing to the infringement by others of the ’808 patent.

               371.    Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claim 1 of the ’808 patent, recited above, and whether said

claim or claims of the ’808 patent are valid.

               372.    Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’808 patent and that the claims of the ’808 patent are valid.




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                373.   Cipla should be enjoined from infringing the ’808 patent, actively inducing

infringement of the ’808 patent, and contributing to the infringement by others of the ’808 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 23 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’512 PATENT

                374.   Plaintiffs incorporate each of the preceding paragraphs 1–373 as if fully set

forth herein.

                375.   Cipla has knowledge of the ’512 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                376.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’512 patent, recited above, either literally or under the doctrine of equivalents.

                377.   On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

                378.   On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’512 patent, recited above.

                379.   On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’512 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

                380.   On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’512 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing



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use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’512 patent after approval of Cipla’s ANDA.

                381.   The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’512 patent, active inducement of infringement of the ’512 patent, and

contribution to the infringement by others of the ’512 patent.

                382.   On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’512 patent, actively inducing infringement

of the ’512 patent, and contributing to the infringement by others of the ’512 patent.

                383.   Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claim 1 of the ’512 patent, recited above, and whether said

claim or claims of the ’512 patent are valid.

                384.   Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’512 patent and that the claims of the ’512 patent are valid.

                385.   Cipla should be enjoined from infringing the ’512 patent, actively inducing

infringement of the ’512 patent, and contributing to the infringement by others of the ’512 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 24 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’447 PATENT

                386.   Plaintiffs incorporate each of the preceding paragraphs 1–385 as if fully set

forth herein.



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               387.    Cipla has knowledge of the ’447 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

               388.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1 and/or 10 of the ’447 patent, recited above, either literally or under the doctrine of

equivalents.

               389.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

               390.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims 1

and/or 10 of the ’447 patent, recited above.

               391.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’447 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               392.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’447 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’447 patent after approval of Cipla’s ANDA.

               393.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’447 patent, active inducement of infringement of the ’447 patent, and

contribution to the infringement by others of the ’447 patent.




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                394.   On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’447 patent, actively inducing infringement

of the ’447 patent, and contributing to the infringement by others of the ’447 patent.

                395.   Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claims 1 and/or 10 of the ’447 patent, recited above, and

whether said claims of the ’447 patent are valid.

                396.   Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’447 patent and that the claims of the ’447 patent are valid.

                397.   Cipla should be enjoined from infringing the ’447 patent, actively inducing

infringement of the ’447 patent, and contributing to the infringement by others of the ’447 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 25 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’888 PATENT

                398.   Plaintiffs incorporate each of the preceding paragraphs 1–397 as if fully set

forth herein.

                399.   Cipla has knowledge of the ’888 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                400.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least




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claims 1 and/or 25 of the ’888 patent, recited above, either literally or under the doctrine of

equivalents.

               401.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

               402.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims 1

and/or 25 of the ’888 patent, recited above.

               403.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’888 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               404.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’888 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’888 patent after approval of Cipla’s ANDA.

               405.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’888 patent, active inducement of infringement of the ’888 patent, and

contribution to the infringement by others of the ’888 patent.

               406.    On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’888 patent, actively inducing infringement

of the ’888 patent, and contributing to the infringement by others of the ’888 patent.




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                407.   Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claims 1 and/or 25 of the ’888 patent, recited above, and

whether said claims of the ’888 patent are valid.

                408.   Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’888 patent and that the claims of the ’888 patent are valid.

                409.   Cipla should be enjoined from infringing the ’888 patent, actively inducing

infringement of the ’888 patent, and contributing to the infringement by others of the ’888 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 26 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’889 PATENT

                410.   Plaintiffs incorporate each of the preceding paragraphs 1–409 as if fully set

forth herein.

                411.   Cipla has knowledge of the ’889 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                412.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’889 patent, recited above, either literally or under the doctrine of equivalents.

                413.   On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.



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               414.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims 1

of the ’889 patent, recited above.

               415.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’889 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               416.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’889 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’889 patent after approval of Cipla’s ANDA.

               417.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’889 patent, active inducement of infringement of the ’889 patent, and

contribution to the infringement by others of the ’889 patent.

               418.    On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’889 patent, actively inducing infringement

of the ’889 patent, and contributing to the infringement by others of the ’889 patent.

               419.    Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claim 1 of the ’889 patent, recited above, and whether said

claim or claims of the ’889 patent are valid.




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                420.   Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’889 patent and that the claims of the ’889 patent are valid.

                421.   Cipla should be enjoined from infringing the ’889 patent, actively inducing

infringement of the ’889 patent, and contributing to the infringement by others of the ’889 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 27 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’637 PATENT

                422.   Plaintiffs incorporate each of the preceding paragraphs 1–421 as if fully set

forth herein.

                423.   Cipla has knowledge of the ’637 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                424.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe of at least

claims 1 and/or 28 of the ’637 patent, recited above, either literally or under the doctrine of

equivalents.

                425.   On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

                426.   On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims 1

and/or 28 of the ’637 patent, recited above.




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               427.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’637 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               428.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’637 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’637 patent after approval of Cipla’s ANDA.

               429.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’637 patent, active inducement of infringement of the ’637 patent, and

contribution to the infringement by others of the ’637 patent.

               430.    On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’637 patent, actively inducing infringement

of the ’637 patent, and contributing to the infringement by others of the ’637 patent.

               431.    Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claims 1 and/or 28 of the ’637 patent, recited above, and

whether said claim or claims of the ’637 patent are valid.

               432.    Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’637 patent and that the claims of the ’637 patent are valid.




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                433.   Cipla should be enjoined from infringing the ’637 patent, actively inducing

infringement of the ’637 patent, and contributing to the infringement by others of the ’637 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 28 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’643 PATENT

                434.   Plaintiffs incorporate each of the preceding paragraphs 1–433 as if fully set

forth herein.

                435.   Cipla has knowledge of the ’643 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                436.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least

claims 1, 35, 36, 37, 38, 39, and/or 40 of the ’643 patent, recited above, either literally or under

the doctrine of equivalents.

                437.   On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

                438.   On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims

1, 35, 36, 37, 38, 39, and/or 40 of the ’643 patent, recited above.

                439.   On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’643 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

                440.   On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’643 patent and that



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Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’643 patent after approval of Cipla’s ANDA.

               441.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’643 patent, active inducement of infringement of the ’643 patent, and

contribution to the infringement by others of the ’643 patent.

               442.    On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’643 patent, actively inducing infringement

of the ’643 patent, and contributing to the infringement by others of the ’643 patent.

               443.    Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claims 1, 35, 36, 37, 38, 39, and/or 40 of the ’643 patent,

recited above, and whether said claims of the ’643 patent are valid.

               444.    Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’643 patent and that the claims of the ’643 patent are valid.

               445.    Cipla should be enjoined from infringing the ’643 patent, actively inducing

infringement of the ’643 patent, and contributing to the infringement by others of the ’643 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 29 – DECLARATORY JUDGMENT OF INFRINGEMENT




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                              BY CIPLA OF THE ’953 PATENT

                446.   Plaintiffs incorporate each of the preceding paragraphs 1–445 as if fully set

forth herein.

                447.   Cipla has knowledge of the ’953 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                448.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe of at least

claims 1 and/or 39 of the ’953 patent, recited above, either literally or under the doctrine of

equivalents.

                449.   On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

                450.   On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claims 1

and/or 39 of the ’953 patent, recited above.

                451.   On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’953 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

                452.   On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’953 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’953 patent after approval of Cipla’s ANDA.




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                453.   The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’953 patent, active inducement of infringement of the ’953 patent, and

contribution to the infringement by others of the ’953 patent.

                454.   On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’953 patent, actively inducing infringement

of the ’953 patent, and contributing to the infringement by others of the ’953 patent.

                455.   Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claims 1 and/or 39 of the ’953 patent, recited above, and

whether said claim or claims of the ’953 patent are valid.

                456.   Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’953 patent and that the claims of the ’953 patent are valid.

                457.   Cipla should be enjoined from infringing the ’953 patent, actively inducing

infringement of the ’953 patent, and contributing to the infringement by others of the ’953 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 30 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’247 PATENT

                458.   Plaintiffs incorporate each of the preceding paragraphs 1–457 as if fully set

forth herein.

                459.   Cipla has knowledge of the ’247 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.



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               460.    On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’247 patent, recited above, either literally or under the doctrine of equivalents.

               461.    On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

               462.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’247 patent, recited above.

               463.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’247 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               464.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’247 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’247 patent after approval of Cipla’s ANDA.

               465.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’247 patent, active inducement of infringement of the ’247 patent, and

contribution to the infringement by others of the ’247 patent.

               466.    On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’247 patent, actively inducing infringement

of the ’247 patent, and contributing to the infringement by others of the ’247 patent.




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                467.   Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claim 1 of the ’247 patent, recited above, and whether said

claim or claims of the ’247 patent are valid.

                468.   Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’247 patent and that the claims of the ’247 patent are valid.

                469.   Cipla should be enjoined from infringing the ’247 patent, actively inducing

infringement of the ’247 patent, and contributing to the infringement by others of the ’247 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 31 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’759 PATENT

                470.   Plaintiffs incorporate each of the preceding paragraphs 1–469 as if fully set

forth herein.

                471.   Cipla has knowledge of the ’759 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                472.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe at least claim

1 of the ’759 patent, recited above, either literally or under the doctrine of equivalents.

                473.   On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.



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               474.    On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’759 patent, recited above.

               475.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’759 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               476.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’759 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’759 patent after approval of Cipla’s ANDA.

               477.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’759 patent, active inducement of infringement of the ’759 patent, and

contribution to the infringement by others of the ’759 patent.

               478.    On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’759 patent, actively inducing infringement

of the ’759 patent, and contributing to the infringement by others of the ’759 patent.

               479.    Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claim 1 of the ’759 patent, recited above, and whether said

claim or claims of the ’759 patent are valid.




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                480.   Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’759 patent and that the claims of the ’759 patent are valid.

                481.   Cipla should be enjoined from infringing the ’759 patent, actively inducing

infringement of the ’759 patent, and contributing to the infringement by others of the ’759 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

            COUNT 32 – DECLARATORY JUDGMENT OF INFRINGEMENT
                         BY CIPLA OF THE ’832 PATENT

                482.   Plaintiffs incorporate each of the preceding paragraphs 1–481 as if fully set

forth herein.

                483.   Cipla has knowledge of the ’832 patent as evidenced, for example, by their

knowledge of the Orange Book and submission of the 80 mcg Notice Letter.

                484.   On information and belief, the manufacture, use, offer for sale, sale,

marketing, distribution, and/or importation of Cipla’s ANDA Product would infringe of at least

claim 1 of the ’832 patent, recited above, either literally or under the doctrine of equivalents.

                485.   On information and belief, Cipla will engage in the manufacture, use, offer

for sale, sale, marketing, distribution, and/or importation of Cipla’s ANDA Product with its

proposed labeling upon FDA approval of Cipla’s ANDA.

                486.   On information and belief, the use of Cipla’s ANDA Product in accordance

with and as directed by Cipla’s proposed labeling for that product would infringe at least claim 1

of the ’832 patent, recited above.




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               487.    On information and belief, Cipla plans and intends to, and will, actively

induce infringement of the ’832 patent when Cipla’s ANDA is approved, and plans and intends to,

and will, do so after approval.

               488.    On information and belief, Cipla knows that Cipla’s ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the ’832 patent and that

Cipla’s ANDA Product and its proposed labeling are not suitable for substantial non-infringing

use. On information and belief, Cipla plans and intends to, and will, contribute to infringement of

the ’832 patent after approval of Cipla’s ANDA.

               489.    The foregoing actions by Cipla constitute and/or will constitute

infringement of the ’832 patent, active inducement of infringement of the ’832 patent, and

contribution to the infringement by others of the ’832 patent.

               490.    On information and belief, Cipla has acted without a reasonable basis for

believing that it would not be liable for infringing the ’832 patent, actively inducing infringement

of the ’832 patent, and contributing to the infringement by others of the ’832 patent.

               491.    Accordingly, there is a real, substantial, and continuing case or controversy

between Plaintiffs and Cipla regarding whether Cipla’s manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product with its proposed labeling according

to Cipla’s ANDA will infringe at least claim 1 of the ’832 patent, recited above, and whether said

claim or claims of the ’832 patent are valid.

               492.    Plaintiffs should be granted a declaratory judgment that the making, using,

sale, offer for sale, and importation into the United States of Cipla’s ANDA Product with its

proposed labeling would infringe, actively induce the infringement of, and contribute to the

infringement by others of the ’832 patent and that the claims of the ’832 patent are valid.




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               493.    Cipla should be enjoined from infringing the ’832 patent, actively inducing

infringement of the ’832 patent, and contributing to the infringement by others of the ’832 patent;

otherwise Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.

                                     PRAYER FOR RELIEF

               WHEREFORE, Plaintiffs request the following relief:

               (a)     A judgment that Cipla has infringed, will infringe, and will induce and

                       contribute to infringement of each of the Patents-in-Suit

               (b)     A judgment that the Patents-in-Suit are valid and enforceable;

               (c)     A judgment pursuant to, among other things, 35 U.S.C. § 271(e)(4)(A)

                       ordering that the effective date of any FDA approval for Cipla to make, use,

                       offer for sale, sell, market, distribute, or import Cipla’s ANDA Product, or

                       any product or compound the making, using, offering for sale, sale,

                       marketing, distribution, or importation of which infringes the Patents-in-

                       Suit, shall not be earlier than the latest of the expiration dates of the Patents-

                       in-Suit, inclusive of any extension(s) and additional period(s) of exclusivity;

               (d)     A preliminary and permanent injunction pursuant to, among other things,

                       35 U.S.C. §§ 271(e)(4)(B) and 283 enjoining Cipla, its officers, agents,

                       servants, employees and attorneys, and all persons acting in concert with

                       them, from making, using, selling, offering for sale, marketing, distributing,

                       or importing Cipla’s ANDA Product, or any product the making, using,

                       offering for sale, sale, marketing, distribution, or importation of which

                       infringes the Patents-in-Suit, or the inducement of or the contribution to any

                       of the foregoing, prior to the latest of the expiration dates of the Patents-in-

                       Suit, inclusive of any extension(s) and additional period(s) of exclusivity;


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         (e)   A judgment declaring that making, using, selling, offering for sale,

               marketing, distributing, or importing Cipla’s ANDA Product, or any

               product or compound the making, using, offering for sale, sale, marketing,

               distribution, or importation of which infringes the Patents-in-Suit, prior to

               the expiration date of the Patents-in-Suit, respectively, will infringe,

               actively induce infringement of, and/or contribute to the infringement by

               others of the Patents-in-Suit;

         (f)   An award of Plaintiffs’ damages or other monetary relief to compensate

               Plaintiffs if Cipla engages in the manufacture, use, offer for sale, sale,

               marketing, distribution, or importation of Cipla’s ANDA Product, or any

               product the making, using, offering for sale, sale, marketing, distribution,

               or importation of which infringes the Patents-in-Suit, or the inducement of

               or the contribution to any of the foregoing, prior to the latest of the

               expiration dates of the Patents-in-Suit, inclusive of any extension(s) and

               additional period(s) of exclusivity, in accordance with 35 U.S.C.

               § 271(e)(4)(C);

         (g)   A judgment that the infringement has been willful and an enhancement of

               damages;

         (h)   A declaration that this case is an exceptional case and an award of attorneys’

               fees pursuant to 35 U.S.C. § 285;

         (i)   An award of Plaintiffs’ costs and expenses in this action; and

         (j)   Such further and other relief as this Court may deem just and proper.




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Dated: October 9, 2024                     WALSH PIZZI O’REILLY FALANGA LLP


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                                  Local Rule 11.2 Certification

         Pursuant to Local Civil Rule 11.2, we hereby certify that the matter in controversy in this
action is related to the following actions: Teva Branded Pharmaceutical Products R&D, Inc., et
al., v. Cipla USA, Inc. and Cipla Ltd., 2:24-cv-00909 (consolidated), pending before the United
States District Court for the District of New Jersey, in which Plaintiffs asserted the Patents-in-Suit
against Defendants in connection with Defendants’ submission of ANDA No. 219000; Teva
Branded Pharmaceutical Products R&D, Inc., et al., v. Cipla USA, Inc. and Cipla Ltd., 2:24-cv-
05856, before the United States District Court for the District of New Jersey, which has been
consolidated with Case no. 2:24-cv-00909 and in which Plaintiffs asserted claims of patent
infringement against Defendants in connection with Defendants’ submission of ANDA No.
219000; Teva Branded Pharmaceutical Products R&D, Inc., et al., v. Cipla USA, Inc. and Cipla
Ltd., 2:24-cv-07162, pending before the United States District Court for the District of New Jersey,
which has been consolidated with Case no. 2:24-cv-00909 and in which Plaintiffs asserted claims
of patent infringement against Defendants in connection with Defendants’ submission of ANDA
No. 219000; Teva Branded Pharmaceutical Products R&D, Inc., et al., v. Cipla Ltd., No. 2023-
2241, which proceeded to final judgment in the District of New Jersey and is now pending before
the United States Court of Appeals for the Federal Circuit, which involved the same parties and in
which Plaintiffs asserted the ’509, ’510, ’156, and ’808 patents against Defendant; Teva Branded
Pharmaceutical Products R&D, Inc., et al., v. Amneal Pharmaceuticals of New York, LLC, et al.,
2:23-cv-20964 pending before the United States District Court for the District of New Jersey, in
which the ’712 and ’808 patents have been asserted against defendants all believed to be unrelated
to the Defendants named herein.

 Dated: October 9, 2024                             WALSH PIZZI O’REILLY FALANGA LLP


                                                    s/Liza M. Walsh
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                                Local Rule 201.1 Certification

        We hereby certify that the above captioned matter is not subject to compulsory arbitration
in that Plaintiffs seek, inter alia, injunctive relief.


 Dated: October 9, 2024                           WALSH PIZZI O’REILLY FALANGA LLP


                                                  s/Liza M. Walsh
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